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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

 BRENDAN HANEY, GERALD REED, and
 TROY SMITH, individually and on behalf
 of all others similarly situated,

         Plaintiffs,
 v.                                             Case No.: 3:18-cv-1011-J-32JRK

 COSTA DEL MAR, INC.,
 a Florida corporation,

     Defendant.
 ____________________________/

      PLAINTIFFS’ RESPONSE IN OPPOSITION TO SHIYANG HUANG’S
         MOTION FOR LEAVE TO FILE A BRIEF AMICUS CURIAE

        Shiyang Huang’s Motion for Leave to File a Brief Amicus Curiae [Doc. 165;

 Motion for Leave] should be denied for numerous, independent reasons.

        First, Huang has no cognizable interest in these proceedings. The Motion

 for Leave admits that he “is not a member of this class” and is due nothing under

 the settlement.       (Motion for Leave at 1) (emphasis in original).    One of the

 requirements for an amicus brief is that the party proposing to file the brief have

 an adequate interest in the proceedings. See Neonatology Assocs., P.A. v. Comm'r,

 293 F.3d 128, 131 (3d Cir. 2002) (“Although the Rule does not say expressly that a

 motion for leave to file should be denied if the movant does not meet the

 requirements of (a) an adequate interest, (b) desirability, and (c) relevance, this is

 implicit.”). Huang has no such interest here.
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         Second, the Motion for Leave constitutes an improper and tardy objection.

 Huang concedes that his Motion for Leave is a disguised objection to the

 settlement. (Motion for Leave at 1 n.1) (stating that Huang is “willing to stipulate

 [sic] an injunction barring him from any payment for this objection.” (emphasis

 added)). But, objections to the settlement were due to be filed by March 1, 2021.

 (Order Doc. 102 ¶ 13). In addition, non-class members, like Huang, have no

 standing to object to the settlement. (Id.) (limiting objections to class members);

 see Raines v. State of Fla., 987 F. Supp. 1416, 1418 (N.D. Fla. 1997) (“Strictly

 speaking, only the parties to the settlement of a class action (plaintiffs, class

 members, and the settling defendants), have standing to object to the fairness of

 the settlement.”); Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989) (“We

 hold, therefore, that non-class members have no standing to object, pursuant to a

 Rule 23(e) notice directed to class members, to a proposed class settlement.”).

         Third, Huang seeks to address a matter that the Parties have thoroughly

 addressed and which the Court has already decided. Huang argues that incentive

 awards are currently prohibited in the Eleventh Circuit and that the $30,000

 reserved for potential incentive fees—in the event the full Eleventh Circuit vacates

 the panel decision in Johnson—should be distributed to the class at this juncture.

 (Motion for Leave at 3-5). This issue has been comprehensively briefed by the

 Parties and the Objectors. See (Joint Notice, Doc. 104) (acknowledging the effect

 of Johnson on the request for incentive awards); (Unopposed Motion for

 Attorneys’ Fees, Doc. 109 at 1 n.1) (setting forth conditional nature of the request
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 for incentive awards); see also (Miorelli Objection, Doc. 117 at 61); (Davis

 Objection, Doc. 112 at 21). The Court heard argument on this issue at the Final

 Approval Hearing. (Transcript, Doc. 146 at 77:8-17). And, the Court ruled that,

 because a petition for en banc review remains pending in Johnson, the Court would

 “retain jurisdiction to allow Class Counsel to renew the request for a service award

 in the event that Johnson is reversed.” (Order, Doc. 151 at 45-46). The Court’s

 decision is appropriate, amply supported by precedent, and makes sense under

 these circumstances.1 There is no need for a belated amicus brief, from a non-class

 member, on this issue.

         Finally, Huang’s Motion for Leave fails to comply with the rules. Under

 the Middle District of Florida Local Rules, Huang was required to confer with the

 Parties about the relief sought in his Motion for Leave and include an appropriate

 certification in the motion. M.D. Fla. R. 3.01(g). He failed to do so, and the Motion

 for Leave is appropriately denied on that basis too. Parker v. Parker, 829 F. App'x

 389, 392 (11th Cir. 2020) (“We also see no abuse of discretion in the denial of Lori's

 motion to compel for failure to comply with Local Rule 3.01(g).”).

         For the foregoing reasons, Huang’s Motion for Leave should be denied.




 1If the $30,000 was ordered to be distributed to class members at this juncture, the
 named class representatives would be stripped of any rights to service awards, in the event
 Johnson is reversed by the full Eleventh Circuit, and each class member would receive
 approximately 1.4 additional cents in cash or increased voucher amounts. See (Joint
 Brief, Doc. 157) (proposing two alternative methods for distributing the remaining $4
 million in settlement funds).
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         Respectfully submitted this 22nd day of November, 2021.

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